Appellate
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                23-1135
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                                          18 Date Filed:
                                                   Date 07/18/2023
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                                   UNITED STATES COURT OF APPEALS
                                        FOR THE TENTH CIRCUIT

       ENTRY OF APPEARANCE AND CERTIFICATE OF INTERESTED
                            PARTIES

     Darlene Griffith


     v.                                                                  Case No. 23-1135
     El Paso County, et al.

                          ENTRY OF APPEARANCE (10th Cir. R. 46.1(A))
        In accordance with Tenth Circuit Rule 46.1, the undersigned attorney(s) hereby appear(s)
 as counsel for:
 Darlene Griffith
 ______________________________________________________________________________
                                 [Party or Parties] 1

 ______________________________________________________________________________

 Appellant
 ____________________________________________________, in the above-captioned case(s).
        [Appellant/Petitioner or Appellee/Respondent]


 Devi Rao                                                        Meghan Palmer
 ______________________________________                          ______________________________________
 Name of Counsel                                                 Name of Counsel
 /s/ Devi Rao
 ______________________________________                          /s/ Meghan Palmer
                                                                 ______________________________________
 Signature of Counsel                                             Signature of Counsel
 501 H Street NE, Suite 275, Washington DC 20002, 202-869-3490   501 H Street NE, Suite 275, Washington DC 20002, 202-869-3430
 ______________________________________                          ______________________________________
 Mailing Address and Telephone Number                            Mailing Address and Telephone Number
 devi.rao@macarthurjustice.org
 ______________________________________
                                                                 meghan.palmer@macarthurjustice.org
                                                                 _____________________________________
 E-Mail Address                                                   E-Mail Address




 1
  Counsel must list each party represented. Do not use “et al.” or generic terms such as
 “Plaintiffs.” Attach additional pages if necessary.
Appellate
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       CERTIFICATE OF INTERESTED PARTIES (10th Cir. R. 46.1(D))



 Pursuant to Tenth Circuit Rule 46.1(D), the undersigned certifies2 as follows:

     The following (attach additional pages if necessary) individuals and/or entities are not
        direct parties in this appeal but do have an interest in or relationship to the litigation
        and/or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
        entering an appearance in this court, but who have appeared for a party in prior trial or
        administrative proceedings, are noted below.




 ✔ There are no such parties/attorneys, or any such parties/attorneys have already been
        disclosed to the court.


 07/18/2023
 _________________________
 Date
 /s/ Devi Rao
 _______________________________________
 Signature




 2
   Pursuant to Tenth Circuit Rule 46.1(D)(6), this certificate must be promptly updated if the
 required information changes.
                                                 2
Appellate
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                                                         Filed: 07/18/2023
                                                                       Page: Page:
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                                 CERTIFICATE OF SERVICE

 I hereby certify that:

         ✔
                All other parties to this litigation are either: (1) represented by attorneys; or
                 (2) have consented to electronic service in this case; or

              On ____________________________
                     07/18/2023               I sent a copy of this Entry of Appearance
                              [date]
 Form to:
 ______________________________________________________________________________


 at____________________________________________________________________________,


 the last known address/email address, by ____________________________________________.
                                                         [state method of service]




 07/18/2023
 _________________________
 Date

 /s/ Devi Rao
 _______________________________________
 Signature




                                                    3
